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                          UNITED STATES DISTRICT COURT FOR THE                                     C. -

                                 SOUTHERN DISTRICT OF GEORGIA
                                                                                            /&)
                                       STATESBORO DIVISION
UNITED STATES OF AMERICA                         )
                                                           INDICTMENT NO. 608-24
                                                           VIO: 42 U.S.C. § 1383a(a)(2)
JAMES USHER and                                                 Social Security Fraud
ARETHA USHER
                                                                  42 U.S.C. § 1383a(a)(3)
                                                                  Social Security Fraud
                                                                  18 U.S.C. § 641
                                                                  Theft of Government Money
               ORDER OF DISMISSAL AS TO DEFENDANT ARETHA USHER
         Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of court
endorsed hereon, the Government's Motion to Dismiss the Indictment as against Defendant
Aretha Usher in the above-captioned case is granted, and the Indictment is hereby dismissed
without prejudice as against Aretha Usher.
         SO ORDERED, this thea/day of January, 2009
                                          ,, 72


                                              UNITED STATES DIS7RICT'JUDGE
                                              SOUTHERN DISTRICAt OF GEORGIA
Prepared by: R. Brian Tanner
Assistant United States Attorney
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100 Bull Street
Savannah, GA 31401
912/652-4422
U.S. v. James Usher and Aretha Usher
CR 608-24
